                                               United States Bankruptcy Court
                                               Northern District of Alabama
In re:                                                                                                     Case No. 19-80950-CRJ
Pete McCullough, III                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1126-8                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 28, 2019
                                      Form ID: def005                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 30, 2019.
db             +Pete McCullough, III,   3211 Overhill Street NW,   Huntsville, AL 35810-3238

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: bnc_notices_northern@alnba.uscourts.gov Mar 29 2019 02:52:38     Richard Blythe,
                 BA Decatur,   P O Box 3045,   Decatur, AL 35602-3045
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 30, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 28, 2019 at the address(es) listed below:
              Jeffrey B. Irby   on behalf of Debtor Pete McCullough, III igotnotices@bellsouth.net,
               irbyj@Bellsouth.net,jennifersankey@aol.com,irby.claims@gmail.com
              Judith Thompson    judith@al-bk.com, AL03@ecfcbis.com
                                                                                            TOTAL: 2




           Case 19-80950-CRJ7               Doc 11 Filed 03/30/19 Entered 03/31/19 00:08:45                                Desc
                                          Imaged Certificate of Notice Page 1 of 2
Def−005 [Notice to File Certification] (Rev. 12/15)

                         UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                              Case No. 19−80950−CRJ7
Pete McCullough III                                                                 Chapter 7
SSN: xxx−xx−3714


           Debtor(s)



                        NOTICE OF REQUIREMENT TO FILE A
              CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE
                                (Official Form 423)
     Notice is hereby given that, subject to limited exceptions, a Debtor must complete an instructional course in
personal financial management in order to receive a discharge under chapter 7 (11 U.S.C. § 727) or chapter 13 (11
U.S.C. § 1328). Generally, financial course providers will file a certificate with the Court to indicate that the Debtor
has completed the course.

      If the course provider fails to file the certificate, a Debtor must complete and file Certification About a Financial
Management Course (Official Form 423) pursuant to Federal Rule of Bankruptcy Procedure 1007(b)(7). If Rule
1007(b)(7) requires a Debtor to file Official Form 423 and a Debtor fails to do so, the Court will not enter a discharge
and will close the case. If a Debtor subsequently files a Motion to Reopen the Case to allow for the filing of the
Official Form 423, the full reopening fee must be paid for filing the motion, and the fee cannot be waived. Depending
on the circumstances, the Court may order the Debtor's attorney to pay the reopening fee instead of the Debtor.

Dated: March 28, 2019                                        By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court




      Case 19-80950-CRJ7                 Doc 11 Filed 03/30/19 Entered 03/31/19 00:08:45                     Desc
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